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                                         Amended Claim

HUA HOU
LUQIN SUN

1545 Morton St
Alameda, CA
94501
Telephone: +001 5102055984
Email: hhou2011@outlook.com

IN THE DISTRICT COURT OF NORTHERN DISTRICT OF TEXAS
        IN AND FOR THE COUNTY OF DALLAS
HUA HOU                                              Case No.: 3:21-cv-02958

LUQIN SUN

Plaintiff,                                           PLEADING TITLE
vs.
BERRY APPLEMAN & LEIDEN LLP
CLAUDIA VILLASEÑOR-SANCHEZ
Defendant


This Court has jurisdiction over the subject matter and parties, as this case involves diversity
jurisdiction. The defendant and plaintiff are citizens of different States.

Defendant Sanchez works and lives in Dallas, Texas, and the exact firm address is as the following:
(A screenshot of the defendant’s firm page is attached as an evidence)

CLAUDIA VILLASEÑOR-SANCHEZ
2400 N. Glenville Drive
Building A
Richardson, TX, 75082, United States

The plaintiff Hua Hou and Luqin Sun are residents in Alameda, California, and the address is as the
following:( letters from IRS are attached as an evidence)

Hua Hou and Luqin Sun
1545 Morton Street
Alameda, CA
94501, United States

Hua Hou and Luqin Sun are holding Chinese passports and the citizens of China, and the passport
pages are included in the attachment.

The claim to be owed is over than $75,000.
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Your
Hua Hou and Luqin Sun
Feb. 2nd 2022
